Case 5:24-cv-10002-JEL-DRG ECF No. 20, PageID.78 Filed 10/07/24 Page 1 of 1




                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION

Marisol Gonzalez,

                        Plaintiff,
                                       Case No. 24-10002
v.
                                       Judith E. Levy
RentGrow, Inc.,                        United States District Judge

                        Defendant.     Mag. Judge David R. Grand

________________________________/

                        ORDER OF DISMISSAL

     Plaintiff Marisol Gonzalez and Defendant RentGrow, Inc., have

settled all claims against each other. In accordance with the parties’ Joint

Stipulation of Dismissal with Prejudice, IT IS HEREBY ORDERED that

Plaintiff’s causes of action against Defendant RentGrow, Inc., are

DISMISSED with prejudice, to the refiling of the same, with court costs

and attorneys’ fees to be paid by the party incurring the same.


Date: October 7, 2024                   s/Judith E. Levy
                                        JUDITH E. LEVY
                                        United States District Judge
